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                   date of ths Master Agreement) to, or reorganses, reincorporates or reconstitutes into or as, another
                   entity;

                   (2) any person, related group of persons or entity acquires diectly or indirectly the beneficial
                   ownership of (A) equity securities having the power to elect a majority of the board of directors (or
                   its equivalent) of X or (B) any other ownership interest enabling it to exercise control of
                                                                                                               X; or

                   (3) X effects any substantial change in its capital strctue by means of the issuance,
                   incurence or guarantee of debt or the issuace of (A) preferred stock or other securties convertible
                   into or exchangeable for debt or preferred stock or (B) in the case of entities other than
                   corporations, any other form of ownership interest; or

        (vi) Additional Termination Event. If any "Additional Termination Event" is specified in the
        Schedule or any Confirmation as applying, the occurrence of such event (and, in such event, the Affected
        Part or Affected Parties wil be as specified for such Additional Termination Event in the Schedule or
        such Confirmation).

(c) Hierarchy of Events.

        (i) An event or circumstace that constitutes or gives rise to an Ilegality or a Force Majeure Event wil
        not, for so long as that is the case, also constitute or give rise to an Event of
                                                                                                    Default under Section 5(a)(i),
        5(a)(ii)(I) or 5(a)(iii)(I) insofar as such event or circumstance relates to the failure to make any payment or
        delivery or a failure to comply with any other material provision of this Agreement or a Credit Support
        Document, as the case may be.

        (ii) Except in circumstaces contemplated by clause (i) above, if an event or circumstace which would
        otherwise constitute or give rise to an Ilegality or a Force Majeure Event also constitutes an Event of
        Default or any other Termination Event, it wil be treated as an Event of
                                                                                   Default or such other Termination
        Event, as the case may be, and wil not constitute or give rise to an Ilegality or a Force Majeure Event.

        (iii) If an event or circumstace which would otherwise constitute or give rise to a Force Majeure Event
        also constitutes an Ilegality, it wil be treated as an Ilegality, except as described in clause (ii) above, and
        not a Force Majeure Event.

(d) Deferral of Payments and Deliveries During Waiting Period. If an Ilegality or a Force Majeure Event has
occurred and is continuing with respect to a Transaction, each payment or delivery which would otherwise be
required to be made under that Transaction wil be deferred to, and wil not be due until:-


        (i) the first Local Business Day or, in the case of a delivery, the first Local Delivery Day (or the first
        day that would have been a Local Business Day or Local Delivery Day, as appropriate, but for the
        occurence of the event or circumstace constituting or giving rise to that Ilegality or Force Majeure Event)
         following the end of any applicable Waiting Period in respect of that Ilegality or Force Majeure Event, as
         the case may be; or

         (ii) if earlier, the date on which the event or circumtace constitutig or giving rise to that Ilegality or
         Force Majeure Event ceases to exist or, if such datc is not a Local Business Day or, in lli: case of a delivery,
         a Local Delivery Day, the first following day that is a Local Business Day or Local Delivery Day, as
         appropriate.

(e) Inability of Head or Home Office to Perform Obligations of Branch. If (i) an Ilegality or a Force
Majeure Event occurs under Section 5(b)(i)(I) or 5(b)(ii)(1) and the relevant Office is not the Affected Par's head
or home office, (ii) Section lO(a) applies, (iii) the other par seeks performance of the relevant obligation or




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compliance with the relevant provision by the Afected Par's head or home office and (iv) the Affected Par's head
or home office fails so to perform or comply due to the occurrence of an event or circumstace which would, if that
head or home offce were the Offce though which the Affected Par makes and receives payments and deliveries
with respect to the relevant Transaction, constitute or give rise to an Ilegality or a Force Majeure Event, and such
failure would otherwise constitute an Event of                Default under Section 5(a)(i)or 5(a)(iii)(I) with respect to such par,
then, for so long as the relevant event or circumstace continues to exist with respect to both the Offce referred to in
Section 5(b)(i)(I) or 5(b)(ii)(1), as the case may be, and the Affected Par's head or home office, such failure wil
not constitute an Event of  Default under Section 5(a)(i) or 5(a)(iii)(1).
6. Early Termination; Close-Out Netting

(a) Right to Terminate Following Event of Default. If at any time an Event of Default with respect to a part
(the "Defaultig Par") has occurred and is then continuing, the other par (the "Non-defaulting Par") may, by not
more than 20 days notice to the Defaulting Par specifying the relevant Event of
                                                                               Default, designate a day not earlier
than the day such notice is effective as an Early Termination Date in respect of all outstanding Transactions. If,
however, "Automatic Early Termination" is specified in the Schedule as applying to a part, then an Early
Termination Date in respect of all outstanding Transactions wil occur immediately upon the occurence with respect
to such par of an Event of  Default specified in Section 5(a)(vii)(I), (3), (5), (6) or, to the extent analogous thereto,
(8), and as of the time immediately preceding the institution of the relevant proceeding or the presentation of the
relevant petition upon the occurrence with respect to such party of an Event of Default specified in
Section 5(a)(vii)(4) or, to the extent analogous thereto, (8).

(b) Right to Terminate Following Termination Event.

            (i) Notice. If a Termination Event other than a Force Majeure Event occurs, an Affected Part wil,
            promptly upon becoming aware of it, notify the other part, specifying the nature of that Termination Event
            and each Affected Transaction, and wil also give the other part such other information about that
            Termination Event as the other part may reasonably require. If a Force Majeure Event occurs, each part
            wil, promptly upon becoming aware of it, use all reasonable efforts to notify the other part, specifying the
            nature of that Force Majeure Event, and wil also give the other par such other information about that
            Force Majeure Event as the other part may reasonably require.

             (ii) Transfer to Avoid Termination Event. If a Tax Event occurs and there is only one Affected Part,
             or if a Tax Event Upon Merger occurs and the Burdened Part is the Affected Par, the Affected Par wil,
             as a condition to its right to designate an Early Termination Date under Section 6(b )(iv), use all reasonable
             effort (which wil not require such par to incur a loss, other than immaterial, incidental expenses) to
             transfer within 20 days after it gives notice under Section 6(b )(i) all its rights and obligations under this
             Agreement in respect of the Affected Transactions to another of its Offices or Affiiates so that such
             Termination Event ceases to exist.

             If the Affected Part is not able to make such a transfer it wil give notice to the other part to that effect
             within such 20 day period, whereupon the other part may effect such a transfer within 30 days after the
             notice is given under Section 6(b )(i).

             Any such transfer by a par under this Section 6(b )(ii) wil be subject to and conditional upon the prior
             written consent otthe other part, which consent wil not be withheld if
                                                                                        such uilæl party's policies in effect
             at such time would permit it to enter into transactions with the transferee on the terms proposed.

             (iii) Two Affected Parties. If a Tax Event occurs and there are two Affected Parties, each par wil use
             all reasonable effort to reach agreement within 30 days after notice of such occurrence is given under
             Section 6(b)(i) to avoid that Termination Event.




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     (iv) Right to Terminate.

             (1) If:-
                      (A) a transfer under Section 6(b )(ii) or an agreement under Section 6(b )(ii), as the
                      case may be, has not been effected with respect to all Affected Trasactions within 30 days
                      after an Affected Par gives notice under Section 6(b )(i); or

                      (B) a Credit Event Upon Merger or an Additional Termation Event occurs, or a Tax
                      Event Upon Merger occurs and the Burdened Part is not the Affected Par,


              the Burdened Part in the case of a Tax Event Upon Merger, any Affected Part in the case of a
              Tax Event or an Additional Termination Event if there are two Affected Paries, or the Non-
              affected Part in the case of a Credit Event Upon Merger or an Additional Termnation Event if
              there is only one Affected Part may, if the relevant Termination Event is then continuing, by not
              more than 20 days notice to the other part, designate a day not earlier than the day such notice is
              effectivc as an Early Termnation Date in respect of all Affected Transactions.

              (2) If at any time an Ilegality or a Force Majeure Event has occurred and is then continuing
              and any applicable Waiting Period has expired:-


                       (A) Subject to clause (B) below, either par may, by not more than 20 days notice to
                       the other part, designate (I) a day not earlier than the day on which such notice becomes
                       effective as an Early Termination Date in respect of all Affected Transactions or (II) by
                       specifying in that notice the Affected Transactions in respect of which it is designating the
                       relevant day as an Early Termination Date, a day not earlier than two Local Business Days
                       following the day on which such notice becomes effective as an Early Termination Date in
                       respect of less than all Affected Transactions. Upon receipt of a notice designating an
                       Early Termination Date in respect of less than all Affected Transactions, the other par
                       may, by notice to the designating part, if such notice is effective on or before the day so
                       designated, designate that same day as an Early Termination Date in respect of any or all
                       other Affected Transactions.

                       (B) An Affected Part (if
                                                    the Ilegality or Force Majeure Event relates to performance
                       by such part or any Credit Support Provider of such part of an obligation to make any
                       payment or delivery under, or to compliance with any other material provision of, the
                        relevant Credit Support Document) wil only have the right to designate an Early
                        Termination Date under Section 6(b)(iv)(2)(A) as a result of an Ilegality under
                        Section 5(b)(i)(2) or a Force Majeure Event under Section 5(b)(ii)(2) following the pnor
                        designation by the other party of an Early Termination Date, pursuant to
                        Section 6(b )(iv)(2)(A), in respect of less than all Affected Transactions.

(c) Effect of Designation.

       (i) If notice designating an Early Termation Date is given under Section 6(a) or 6(b), the Early
       Termation Date wil occur on the date so designated, whether or not the relevant Event of Default or
       Termation Event is then contiuing.

       (ii) Upon the occurence or effective designation of an Early Termation Date, no furter payments or
       deliveries under Section 2(a)(i) or 9(h)(i) in respect of the Termnated Trasactions wil be required to be
       made, but without prejudice to the other provisions of this Agreement. The amount, if any, payable in
       respect of an Early Termation Date wil be determed pursuant to Sections 6( e) and 9(h)(ii).




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(d) Calculations; Payment Date.

        (i) Statement. On or as soon as reasonably practicable following the occurence of an Early
        Termation Date, each par wil make the calculations on its par if any, contemplated by Section 6( e) and
        wil provide to the other par a statement (I) showing, in reasonable detail, such calculations (including any
        quotations, market data or information from internal sources used in making such calculations),
        (2) specifying (except where there are two Affected Parties) any Early Termnation Amount payable and
        (3) giving details of the relevant account to which any amount payable to it is to be paid. In the absence of
        written confirmation from the source of-a quotation or market data obtained in determining a Close-out
        Amount, the records of the par obtaining such quotation or market data wil be conclusive evidence of the
        existence and accuracy of such quotation or market data.

        (ii) Payment Date. An Early Termination Amount due in respect of any Early Termination Date wil,
        together with any amount of interest payable pursuant to Section 9(h)(ii)(2), be payable (1) on the day on
        which notice of the amount payable is effective in the case of an Early Termation Date which is designated
        or occurs as a result of an Event of Default and (2) on the day which is two Local Business Days after the
        day on which notice of the amount payable is effective (or, if there are two Afected Paries, after the day on
        which the statement provided pursuant to clause (i) above by the second par to provide such a statement is
         effective) in the case of an Early Termination Date which is designated as a result of a Termation Event.

(e) Payments on Early Termination. If an Early Termination Date occurs, the amount, if any, payable in
respect of that Early Termination Date (the "Early Termination Amount") wil be determined pursuant to this
Section 6(e) and wil be subject to Section 6(f).

         (i) Events of Default. If the Early Termination Date results from an Event of Default, the Early
                                                               (A) the Termination Currency Equivalent of
         Termination Amount wil be an amount equal to (I) the sum of

         the Close-out Amount or Close-out Amounts (whether positive or negative) determned by the Non-
         defaulting Par for each Terminated Transaction or group of Termnated Transactions, as the case may be,
         and (B) the Termination Currency Equivalent of                  the Unpaid Amounts owing to the Non-defaulting Part less
         (2) the Termination Currency Equivalent of the Unpaid Amounts owing to the Defaulting Par. If the Early
         Termination Amount is a positive number, the Defaulting Part wil pay it to the Non-defaulting Par; if it
         is a negative number, the Non-defaulting Part wil pay the absolute value of the Early Termination Amount
         to the Defaulting Par.

         (ii) Termination Events. If
                                                     the Early Termination Date results from a Termination Event:-

                     (I) One Affected Party. Subject to clause (3) below, if
                                                                                             there is one Affected Part, the Early
                     Termination Amount wil be determned in accordance with Section 6(e)(i), except that references
                     to the Defaulting Par and to the Non-defaulting Part wil be deemed to be references to the
                     Affected Part and to the Non-affected Part, respectively.

                     (2) Two Affected Parties. Subject to clause (3) below, ifthere are two Affected Parties, each
                     part wil determine an amount equal to the Termination Currency Equivalent of the sum of the
                     Close-out Amount or Close-out Amounts (whether positive or negative) for each Terminated
                     Transaction or group of Tcrminatcd Transactions, as thc case may be, and the Early Termination
                     Amount wil be an amount equal to (A) the sum of (I) one-half of the difference between the higher
                     amount so determined (by party "X") and the lower amount so determined (by part "Y") and
                     (II) the Termination Currency Equivalent of the Unpaid Amounts owing to X less (B) the
                     Termination Currency Equivalent of the Unpaid Amounts owing to Y. If the Early Termination
                     Amount is a positive number, Y wil pay it to X; if it is a negative number, X wil pay the absolute
                      value of the Early Termination Amount to Y.




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                     (3) Mid-Market Events. If that Termation Event is an Ilegality or a Force Majeure Event,
                     then the Early Termation Amount wil be determed in accordance with clause (I) or (2) above,
                     as appropriate, except that, for the purose of determining a Close-out Amount or Close-out
                     Amounts, the Determning Part wil:-

                              (A) if obtaining quotations from one or more third parties (or from any of the
                              Determning Part's Affliates), ask each third par or Affiiate (I) not to tae account of
                              the curent creditwortiness of the Determining Par or any existing Credit Support
                              Document and (II) to provide mid-market quotations; and

                              (B) in any other case, use mid-market values without regard to the creditwortiness of
                              the Determining Par.


          (iü) Adjustment/or Bankrptc. In cirumtace where an Ealy Termtion Date oc because
          Automatic Ealy Termation applies in ret of a par, the Ealy Termtion Amount will be subject to
          such adjustments as ar appropriate and permtt by applicale law to reflect any payments or deliveres
          made by one par to the other under th Agreement (and retaed by such other par) durg the peod
          from the relevant Ealy Termtion Date to the date for payment determed under Section 6( d)(ü).

          (iv) Adjustment/or Ilgal or Force Majeure Event. The failure by a par or any Credt Support
          Provider of such par to pay, when due, any Ealy Termation Amount wil not constitute an Event of
          Default under Section 5(a)(i) or 5(a)(iü)(1) if such failure is due to the ocurence of an event or
          circumtace which would, if it occured with respect to payment, delivery or compliance relate to a
          Traaction, constitute or give rise to an Ilegality or a Force Majeure Event Such amount will (I) accrue
          interest and otherwse be treate as an Unpaid Amount owing to the other par if subsequently an Ealy
          Termation Date results from an Event of Default, a Credit Event Upon Merger or an Additional
          Termination Event in respect of which all outstading Transactions are Affected Transactions and
          (2) otherwise accrue interest in acordace with Section 9(h)(ii)(2).

          (v) Pre-Est The pares agr tht an amount recverale under ths Section 6(e) is a reonale
          pretite of loss and not a penaty. Such amount is payable for the loss of bargai and the loss of
          protetion agat futu risks, and, excet as otherwse provided in ths Agrment, neither par will be
          entitled to rever any additional dages as a consequence of the termtion of the Termte
          Trations.
(f) Set-Off Any Early Termination Amount payable to one part (the "Payee") by the other part (the
"Payer"), in circumstaces where there is a Defaulting Par or where there is one Affected Part in the case where
either a Credit Event Upon Merger has occurred or any other Termination Event in respect of which all outstading
Transactions are Affected Transactions has occurred, wil, at the option of the Non-defaulting Part or the Non-
affected Par, as the case may be ("X") (and without prior notice to the Defaulting Par or the Affected Par, as the
case may be), be reduced by its set-off against any other amounts ("Other Amounts") payable by the Payee to the
Payer (whether or not arising under this Agreement, matured or contingent and irrespective of the currency, place of
payment or place of booking of the obligation). To the extent that any Other Amounts are so set off, those Other
Amounts wil be discharged promptly and in all respects. X wil give notice to the other par of any set-off effected
1I1\.1~r this Sediuii 6(1).



For this purpose, either the Early Termination Amount or the Other Amounts (or the relevant portion of such
amounts) may be converted by X into the currency in which the other is denomiated at the rate of exchange at which
such part would be able, in good faith and using commercially reasonable procedures, to purchase the relevant
amount of such currency.




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If an obligation is unascertined, X may in good faith estimate that obligation and set off in respect of the estimate,
subject to the relevant part accounting to the other when the obligation is ascertined.

Nothing in this Section 6(f) wil be effective to create a charge or other security interest. Ths Section 6(f) wil be
without prejudice and in addition to any right of set-off, offset, combination of accounts, lien, right of retention or
witholding or simlar right or requirement to which any par is at any time otherwise entitled or subject (whether by
operation oflaw, contract or otherwise).

7. Transfer

Subject to Section 6(b)(ii) and to the extent permitted by applicable law, neither this Agreement nor any interest or
obligation in or under this Agreement may be transferred (whether by way of security or otherwise) by either par
without the prior written consent of           the other par, except that:-


(a) a par may make such a transfer of this Agreement pursuant to a consolidation or amalgamation with, or
merger with or into, or transfer of all or substantially all its assets to, another entity (but without prejudice to any
other right or remedy under this Agreement); and

(b) a part may make such a transfer of all or any part of its interest in any Early Termination Amount payable
to it by a Defaulting Part, together with any amounts payable on or with respect to that interest and any other rights
associated with that interest pursuant to Sections 8, 9(h) and Ii.


Any purorted transfer that is not in compliance with this Section 7 wil be void.

8. Contractual Currency

(a) Payment in the Contractual Currency. Each payment under this Agreement wil be made in the relevant
currency specified in this Agreement for that payment (the "Contractual Currency"). To the extent permitted by
applicable law, any obligation to make payments under this Agreement in the Contractual Currency wil not be
discharged or satisfied by any tender in any currency other than the Contractual Currency, except to the extent such
tender results in the actual receipt by the part to which payment is owed, acting in good faith and using
commercially reasonable procedures in converting the currency so tendered into the Contractual Currency, of the full
amount in the Contractual Currency of all amounts payable in respect of this Agreement. If for any reason the
amount in the Contractual Currency so received falls short of the amount in the Contractual Currency payable in
respect of this Agreement, the part required to make the payment wil, to the extent permitted by applicable law,
 immediately pay such additional amount in the Contractual Currency as may be necessary to compensate for the
 shortall. If for any reason the amount in the Contractual Currency so received exceeds the amount in the Contractual
 Currency payable in respect of this Agreement, the part receiving the payment wil refund promptly the amount of
 such excess.

 (b) Judgments. To the extent permitted by applicable law, if any judgment or order expressed in a currency
 other than the Contractual Currency is rendered (i) for the payment of any amount owing in respect of this
 Agreement, (ii) for the payment of any amount relating to any early termnation in respect of this Agreement or (ii) in
 respect of a judgment or order of another court for the payment of any amount described in clause (i) or (ii) above,
 the part seeking recovery, after recovery in run of the aggregate amount to which such part is entitled pursuant to
                                                                                                                 the
 the judgment or order, wil be entitled to receive immediately from the other part the amount of any shortfall of

 Contractual Currency received by such part as a consequence of sums paid in such other currency and wil refund
 promptly to the other par any excess of the Contractual Currency received by such part as a consequence of sums
 paid in such other currency if such shortfall or such excess arises or results from any variation between the rate of
 exchange at which the Contractual Curency is converted into the curency of the judgment or order for the purpose
 of such judgment or order and the rate of exchange at which such party is able, acting in good faith and using




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commercially reasonable procedures in converting the currency received into the Contractual Currency, to purchase
the Contractual Currency with the amount of             the currency of        the judgment or order actually received by such par.


(c) Separate Indemnities. To the extent permitted by applicable law, the indemnities in this Section 8
constitute separate and independent obligations from the other obligations in this Agreement, wil be enforceable as
separate and independent causes of action, wil apply notwithstanding any indulgence granted by the par to which
any payment is owed and wil not be affected by judgment being obtained or claim or proof being made for any
other sums payable in respect of this Agreement.

(d) Evidence of Loss. For the purose of this Section 8, it wil be sufficient for a par to demonstrate that it
would have suffered a loss had an actual exchange or purchase been made.

9. Miscellaneous

(a) Entire Agreement. This Agreement constitutes the entire agreement and understading of the parties with
respect to its subject matter. Each of the parties acknowledges that in entering into this Agreement it has not relied
on any oral or written representation, waranty or other assurance (except as provided for or referred to in this
Agreement) and waives all rights and remedies which might otherwise be available to it in respect thereof, except that
nothing in this Agreement wil             limit or exclude any liability of a part for fraud.

(b) Amendments. An amendment, modification or waiver in respect of this Agreement wil only be effective if
in writing (including a writing evidenced by a facsimile transmission) and executed by each of the paries or
confirmed by an exchange of             telexes or by an exchange of electronic messages on an electronic messaging system.

(c) Survival of Obligations. Without prejudice to Sections 2(a)(iii) and 6(c)(ii), the obligations of the parties
under this Agreement wil survive the termination of any Transaction.

(d) Remedies Cumulative. Except as provided in this Agreement, the rights, powers, remedies and privileges
provided in this Agreement are cumulative and not exclusive of any rights, powers, remedies and privileges provided
by law.

(e) Counterparts and Confirmations.

            (i) This Agreement (and each amendment, modification and waiver in respect of it) may be executed
            and delivered in counterpart (including by facsimile transmission and by electronic messaging system), each
            of which wil be deemed an originaL.

             (ii) The parties intend that they are legally bound by the terms of each Transaction from the moment
            they agree to those terms (whether orally or otherwise). A Confirmation wil be entered into as soon as
            practicable and may be executed and delivered in counterpar (including by facsimile transmission) or be
            created by an exchange of telexes, by an exchange of electronic messages on an electronic messaging system
            or by an exchange of e-mails, which in each case wil be sufficient for all puroses to evidence a binding
            supplement to this Agreement. The parties wil specify therein or through another effective means that any
            such counterpart telex, electronic message or e-mail constitutes a Confirmation.

 (f) No Waiver of Rights. A failure or delay in exercising any right, power or privilege in respect of this
 Agreement wil not be presumed to operate as a waiver, and a single or partial exercise of any right, power or
 privilege wil not be presumed to preclude any subsequent or furter exercise, of that right, power or privilege or the
 exercise of any other right, power or privilege.

 (g) Headings. The headings used in this Agreement are for convenience of reference only and are not to affect
 the constrction of or to be taken into consideration in interpreting this Agreement.




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(h) Interest and Compensation.

       (i) Prior to Early Termination. Prior to the occurrence or effective designation of an Early
       Termnation Date in respect of the relevant Transaction:-

               (I) Interest on Defaulted Payments. If a par defaults in the performance of any payment
               obligation, it will, to the extent permtted by applicable law and subject to Section 6(c), pay inlt:lt:st
               (before as well as after judgment) on the overdue amount to the other par on demand in the same
               currency as the overdue amount, for the period from (and including) the original due date for
               payment to (but excluding) the date of actual payment (and excluding any period in respect of
               which interest or compensation in respect of         the overdue amount is due puruant to clause (3)(B) or
               (C) below), at the Default Rate.

               (2) Compensation for Defaulted Deliveries. If a par defaults in the performance of any
               obligation required to be settled by delivery, it wil on demand (A) compensate the other par to
               the extent provided for in the relevant Confirmation or elsewhere in this Agreement and (B) unless
               otherwise provided in the relevant Confirmation or elsewhere in this Agreement, to the extent
               permitted by applicable law and subject to Section 6(c), pay to the other part interest (before as
               well as after judgment) on an amount equal to the fair market value of that which was required to be
               delivered in the same currency as that amount, for the period from (and including) the originally
               scheduled date for delivery to (but excluding) the date of actual delivery (and excluding any period
               in respect of which interest or compensation in respect of  that amount is due pursuant to clause (4)
               below), at the Default Rate. The fair market value of any obligation referred to above wil be
               determined as of the originally scheduled date for delivery, in good faith and using commercially
               reasonable procedures, by the part that was entitled to tae delivery.

                (3) Interest on Deferred Payments. If:-

                           (A) a part does not pay any amount that, but for Section 2(a)(iii), would have been
                           payable, it wil, to the extent permitted by applicable law and subject to Section 6(c) and
                           clauses (B) and (C) below, pay interest (before as well as after judgment) on that amount
                           to the other par on demand (after such amount becomes payable) in the same curency as
                           that amount, for the period from (and including) the date the amount would, but for
                           Section 2(a)(iii), have been payable to (but excluding) the date the amount actually
                           becomes payable, at the Applicable Deferral Rate;

                           (B) a payment is deferred pursuant to Section 5(d), the par which would otherwise
                           have been required to make that payment wil, to the extent permitted by applicable law,
                           subject to Section 6(c) and for so long as no Event of Default or Potential Event of Default
                           with respect to that par has occurred and is continuing, pay interest (before as well as
                           after judgment) on the amount of        the deferred payment to the other par on demand (after
                           such amount becomes payable) in the same currency as the deferred payment, for the
                           period from (and including) the date the amount would, but for Section 5(d), have been
                           payable to (but excluding) the earlier of the date the payment is no longer deferred
                           pursuant to Section Sed) and the dale during ihe deferral perinn upon which an Evcnt of
                           Default or Potential Event of Default with rcspcct to that part occurs, at the Applicable
                           Deferral Rate; or

                           (C) a part fails to make any payment due to the occurrence of an Ilegality or a
                           Force Majeure Event (after giving effect to any deferral period contemplated by clause
                           (B) above), it wil, to the extent permtted by applicable law, subject to Section 6(c) and
                           for so long as the event or circumstace giving rise to that Ilegality or Force Majeure Event




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                      continues and no Event of Default or Potential Event of Default with respect to that par
                      has occured and is continuing, pay interest (before as well as after judgment) on the
                       overdue amount to the other par on demand in the same curency as the overdue amount,
                       for the period from (and including) the date the par fails to make the payment due to the
                       occurence of the relevant Ilegality or Force Majeure Event (or, if later, the date the
                       payment is no longer deferred puruant to Section Sed)) to (but excluding) the earlier of              the
                       date the event or circumstace giving rise to that Ilegality or Force Majeure Event ceases
                       to exist and the date during the period upon which an Event of Default or Potential Event
                       of Default with respect to that part occurs (and excluding any period in respect of which
                       interest or compensation in respect of the overdue amount is due pursuant to clause (B)
                       above), at the Applicable Deferral Rate.

           (4) Compensation/or De/erred Deliveries. If:-

                       (A) a par does not perform any obligation that, but for Section 2(a)(iii), would have
                       been required to be settled by delivery;

                       (B) a delivery is deferred pursuant to Section Sed); or

                       (C) a part fails to make a delivery due to the occurrence of an Ilegality or a Force
                       Majeure Event at a time when any applicable Waiting Period has expired,

           the part required (or that would otherwise have been required) to make the delivery wil, to the
           extent permitted by applicable law and subject to Section 6(c), compensate and pay interest to the
           other part on demand (after, in the case of clauses (A) and (B) above, such delivery is required) if
           and to the extent provided for in the relevant Confirmation or elsewhere in this Agreement.

(ii) Early Termination. Upon the occurrence or effective designation of an Early Termination Date in
respect of a Transaction:-

           (I) Unpaid Amounts. For the purpose of determining an Unpaid Amount in respect of the
           relevant Transaction, and to the extent permitted by applicable law, interest wil accrue on the
           amount of any payment obligation or the amount equal to the fair market value of any obligation
           required to be settled by delivery included in such determination in the same currency as that
           amount, for the period from (and including) the date the relevant obligation was (or would have
           bccn but for Scction 2(a)(iii) or Sed)) required to have been performed to (but excluding) the
           relevant Early Termination Date, at the Applicable Close-out Rate.

           (2) Interest on Early Termination Amounts. If an Early Termination Amount is due in respect
           of such Early Termination Date, that amount wil, to the extent permitted by applicable law, be paid
           together with interest (before as well as after judgment) on that amount in the Termination
           Currency, for the period from (and including) such Early Termination Date to (but excluding) the
           date the amount is paid, at the Applicable Close-out Rate.

(Hi) Interest CalculatIon. Any interest pursuant to this Section 9(h) wil be calculated on thc basis of
daily compounding and the actual              number of days elapsed.




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10. Offces; Multibranch Parties

(a) If Section lO(a) is specified in the Schedule as applying, each par that enters into a Trasaction though an
Office other than its head or home office represents to and agrees with the other par that, notwithstading the place
of bookig or its jursdiction of incorporation or organisation, its obligations are the same in terms of recourse against
it as if it had entered into the Transaction though its head or home offce, except that a par wil not have recourse
to the head or home offce of the other par in respect of any payment or delivery deferred pursuant to Section 5( d)
for so long as the payment or delivery is so deferred. This representation and agreement wil be deemed to be
repeated by each part on each date on which the parties enter into a Transaction.

(b) If a part is specified as a Multibranch Par in the Schedule, such par may, subject to clause (c) below,
enter into a Transaction though, book a Transaction in and make and receive payments and deliveries with respect to
a Transaction through any Office listed in respect of that par in the Schedule (but not any other Offce unless
otherwise agreed by the paries in writing).

(c) The Offce through which a par enters into a Transaction wil be the Office specified for that part in the
relevant Confirmation or as otherwise agreed by the parties in writing, and, if an Offce for that part is not specified
in the Confirmation or otherwise agreed by the parties in writing, its head or home office. Unless the parties
 otherwise agree in writing, the Offce though which a part enters into a Transaction wil also be the Office in which
 it books the Transaction and the Offce through which it makes and receives payments and deliveries with respect to
 the Transaction. Subject to Section 6(b )(ii), neither part may change the Office in which it books the Transaction or
 the Office though which it makes and receives payments or deliveries with respect to a Transaction without the prior
 written consent of          the other part.


 11. Expenses

 A Defaulting Part wil on demand indemnify and hold harless the other par for and against all reasonable out-of-
 pocket expenses, including legal fees, execution fees and Stamp Tax, incurred by such other par by reason of the
 enforcement and protection of its rights under this Agreement or any Credit Support Document to which the
 Defaulting Part is a part or by reason of the early termination of any Transaction, including, but not limited to,
 costs of collection.


     12. Notices
                                                                                     this Agreement may be given in any manner
     (a) Effectiveness. Any notice or other communication in respect of
     described below (except that a notice or other communication under Section 5 or 6 may not be given by electronic
     messaging system or e-mail) to the address or number or in accordance with the electronic messaging system or
     e-mail details provided (see the Schedule) and wil be deemed effective as indicated:-

                 (i) if in writing and delivered in person or by courier, on the date it is delivered;


                 (ii) if sent by telex, on the date the recipient's answerback is received;


                 (iii) if sent by facsimile transmission, on the date it i~ received by a responsible employee of the
                 recipient in legible form (it being agreed that the burden of proving receipt wil be on the sender and wil not
                 be met by a transmission report generated by the sender's facsimile machine);

                 (iv) if sent by certified or registered mail (airmail, if overseas) or the equivalent (return receipt
                 requested), on the date it is delivered or its delivery is attempted;

                 (v) if sent by electronic messaging system, on the date it is received; or




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            (vi) if sent bye-mail, on the date it is delivered,

unless the date ofthat delivery (or attempted delivery) or that receipt, as applicable, is not a Local Business Day or
that communication is delivered (or attempted) or received, as applicable, after the close of business on a Local
Business Day, in which case that communication wil be deemed given and effective on the first following day that is
a Local Business Day.

(b) Change of Detail. Either par may by notice to the other change the address, telex or facsimle number or
electronic messaging system or e-mail details at which notices or other communications are to be given to it.

13. Governing Law and Jurisdiction



the Schedule. .
(a) Governing Law. This Agreement wil be governed by and constred in accordace with the law specified in



(b) Jurisdiction. With respect to any suit, action or proceedings relating to any dispute arsing out of or in
connection with this Agreement ("Proceedings"), each par irrevocably:-


            (i) submits:-

                        (I) if this Agreement is expressed to be governed by English law, to (A) the non-exclusive
                       jurisdiction of the English court if  the Proceedings do not involve a Convention Court and (B) the
                        exclusive jurisdiction of the English courts if the Proceedings do involve a Convention Court; or

                        (2) if this Agreement is expressed to be governed by the laws of the State of New York, to
                        the non-exclusive jurisdiction of the court of the State of     New York and the United States District
                        Court located in the Borough of            Manattn in New York City;

            (ii) waives any objection which it may have at any time to the laying of venue of any Proceedings
            brought in any such court, waives any claim that such Proceedings have been brought in an inconvenient
            forum and further waives the right to object, with respect to such Proceedings, that such court does not have
            any jurisdiction over such part; and

            (iii) agrees, to the extent permitted by applicable law, that the bringing of Proceedings in anyone or
            more jurisdictions wil not preclude the bringing of                   Proceedings in any other jurisdiction.

(c) Service of Process. Each part irrevocably appoints the Process Agent, if any, specified opposite its name
in the Schedule to receive, for it and on its behalf, service of process in any Proceedings. If for any reason any
part's Process Agent is unable to act as such, such part wil promptly notify the other par and within 30 days
appoint a substitute process agent acceptable to the other par. The paries irevocably consent to service of process
given in the maner provided for notices in Section 12(a)(i), 12(a)(iii) or 12(a)(iv). Nothing in this Agreement wil
affect the right of either part to serve process in any other maner permtted by applicable law.

(d) Waiver of Immunities. Each par irrevocably waives, to the extent permitted by applicable law, with
rciipcct to itself nnd its revenues and assets (irrespeetivc of thcir use or intcnded use), 811 immunity on thc gro\inds of
sovereignty or other similar grounds from (i) suit, (ii) jurisdiction of any court, (iii) relief by way of injunction or
order for specific pedormance or recovery of propert, (iv) attchment of its assets (whether before or after
judgment) and (v) execution or enforcement of any judgment to which it or its revenues or assets might otherwise be
entitled in any Proceedings in the cour of any jursdiction and irevocably agrees, to the extent permtted by
applicable law, that it wil not claim any such immunity in any Proceedings.




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14. Definitions

As used in this Agreement:-
"Additional Representation" has the meaning specified in Section 3.

"Additional Termination Event"         has the meaning specified in Section 5(b).

"Affected Part" has the meaning specified in Section 5(b).

"Affected Transactions" means (a) with respect to any Termination Event consisting of an Ilegality, Force Majeure
Event, Tax Event or Tax Event Upon Merger, all Transactions affected by the occurrence of such Termnation Event
(which, in the case of an Ilegality under Section 5(b )(i)(2) or a Force Majeure Event under Section 5(b )(ii)(2), means
all Transactions unless the relevant Credit Support Document references only certin Transactions, in which case
those Transactions and, if the relevant Credit Support Document constitutes a Confirmation for a Transaction, that
Transaction) and (b) with respect to any other Termnation Event, all Transactions.

"Affliate" means, subject to the Schedule, in relation to any person, any entity controlled, directly or indirectly, by
the person, any entity that controls, directly or indirectly, the person or any entity directly or indirectly under common
control with the person. For this purpose, "control" of any entity or person means ownership of a majority of the
voting power of the entity or person.

"Agreement" has the meaning specified in Section i (c).

"Applicable Close-out Rate" means:-

(a) in respect of
                             the determination of an Unpaid Amount:-

            (i) in respect of obligations payable or deliverable (or which would have been but for Section 2(a)(iii))
            by a Defaulting Par, the Default Rate;


            (ii) in respect of obligations payable or deliverable (or which would have been but for Section 2(a)(iii))
            by a Non-defaulting Part, the Non-default Rate;


            (iii) in respect of obligations deferred pursuant to Section 5( d), if there is no Defaulting Part and for so
            long as the deferral period continues, the Applicable Deferral Rate; and

            (iv) in all other cases following the occurrence of a Termination Event (except where interest accrues
            pursuant to clause (iii) above), the Applicable Deferral Rate; and

(b) in respect of an Early Termination Amount:-

             (i) for the period from (and including) the relevant Early Termination Date to (but excluding) the date
             (determined in accordance with Section 6(d)(ii)) on which that amount is payable:-

                         (1) if thc Early Tcrmination Amount is payable by a Defaulting Par, the Default Rate;


                         (2) if the Early Termination Amount is payable by a Non-defaulting Part, the Non-default
                         Rate; and

                         (3) in all other cases, the Applicable Deferral Rate; and




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           (ii) for the period from (and including) the date (determed in accordance with Section 6(d)(ii)) on
          which that amount is payable to (but excluding) the date of actual payment:-

                       (1) if a par fails to pay the Early Termination Amount due to the occurence of an event or
                       circumstace which would, if it occurred with respect to a payment or delivery under a Transaction,
                       constitute or give rise to an Ilegality or a Force Majeure Event, and for so long as the Early
                       Termination Amount remains unpaid due to the contiuing existence of such event or circumstace,
                       the Applicable Deferral Rate;

                       (2) if the Early Termination Amount is payable by a Defaulting Part (but excluding any
                       period in respect of       which clause (I) above applies), the Default Rate;

                       (3) if         the Early Termnation Amount is payable by a Non-defaulting Par (but excluding any
                       period in respect of       which clause (I) above applies), the Non-default Rate; and

                       (4) in all other cases, the Termination Rate.


"Applicable Deferral Rate" means:-

(a) for the purpose of Section 9(h)(i)(3)(A), the rate certified by the relevant payer to be a rate offered to the
payer by a major bank in a relevant interbank market for overnight deposits in the applicable currency, such ban to
be selected in good faith by the payer for the purpose of obtaining a representative rate that wil reasonably reflect
conditions prevailing at the time in that relevant market;

(b) for purposes of Section 9(h)(i)(3)(B) and clause (a)(iii) of
                                                                       the definition of Applicable Close-out Rate, the
rate certified by the relevant payer to be a rate offered to prime banks by a major bank in a relevant interbank market
for overnight deposits in the applicable currency, such bank to be selected in good faith by the payer after
consultation with the other par, if practicable, for the purose of obtaining a representative rate that wil reasonably
reflect conditions prevailing at the time in that relevant market; and

(c) for purposes of Section 9(h)(i)(3)(C) and clauses (a)(iv), (b)(i)(3) and (b)(ii)(1) of the definition of
Applicable Close-out Rate, a rate equal to the arithmetic mean ofthe rate determined pursuant to clause (a) above and
a rate per annum equal to the cost (without proof or evidence of any actual cost) to the relevant payee (as certified by
it) if it were to fund or of funding the relevant amount.

"Automatic Early Termination"                 has the meaning specified in Section 6(a).

"Burdened Part" has the meaning specified in Section 5(b )(iv).

"Change in Tax Law" means the enactment, promulgation, execution or ratification of, or any change in or
amendment to, any law (or in the application or offcial interpretation of               any law) that occurs after the paries enter
into the relevant Transaction.

"Close-out Amount" means, with respect to each Termated Transaction or each group of Termated Transactions
and a Determining Part, the amount of the losses or i:usls of the Deterniining Part that arc or would be incurred
under then prevailing circumstances (expressed as a positive number) or gains of the Determning Part that are or
would be realised under then prevailing circumstaces (expressed as a negative number) in replacing, or in providing
for the Determining Par the economic equivalent of, (a) the material terms of
                                                                                             that Terminated Transaction or group
of Terminated Transactions, including the payments and deliveries by the parties under Section 2(a)(i) in respect of
that Terminated Transaction or group of Terminated Transactions that would, but for the occurrence of the relevant
Early Termnation Date, have been required after that date (assuming satisfaction of the conditions precedent in




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Section 2(a)(iii)) and (b) the option rights of the paries in respect of that Termated Transaction or group of
Terminated Transactions.

Any Close-out Amount wil be determed by the Determining Par (or its agent), which wil act in good faith and
use commercially reasonable procedures in order to produce a commercially reasonable result. The Determning
Part may determne a Close-out Amount for any group of Termnated Transactions or any individual Termnated
Transaction but, in the aggregate, for not less than all Terminated Transactions. Each Close-out Amount wil be
determined as of the Early Termnation Date or, if that would not be commercially reasonable, as of the date or dates
following the Early Termination Date as would be commercially reasonable.
Unpaid Amounts in respect of a Terminated Transaction or group of      Termated Transactions and legal fees and out-
of-pocket expenses referred to in Section II are to be excluded in all determinations of Close-out Amounts.
In determining a Close-out Amount, the Determing Par may consider any relevant information, including, without
limitation, one or more of         the following tyes of            information: -


(i) quotations (either firm or indicative) for replacement transactions supplied by one or more third parties that
may take into account the creditworthiness of the Determining Part at the time the quotation is provided and the
terms of any relevant documentation, including credit support documentation, between the Determining Par and the
third part providing the quotation;


(ii) information consisting of relevant market data in the relevant market supplied by one or more third paries
including, without limitation, relevant rates, prices, yields, yield curves, volatilties, spreads, correlations or other
relevant market data in the relevant market; or

(iii) information of the tyes described in clause (i) or (ii) above from internal sources (including any of the
Determining Part's Affliates) if              that information is of       the same tye used by the Determining Part in the regular
course of its business for the valuation of similar transactions.

The Determining Part wil consider, taking into account the standards and procedures described in this definition,
quotations pursuant to clause (i) above or relevant market data pursuant to clause (ii) above unless the Determining
Par reasonably believes in good faith that such quotations or relevant market data are not readily available or would
produce a result that would not satisfy those standards. When considering information described in clause (i), (ii) or
(iii) above, the Determining Part may include costs of fuding, to the extent costs of funding are not and would not
be a component of the other information being utilised. Third paries supplying quotations pursuant to clause (i)
above or market data pursuant to clause (ii) above may include, without limitation, dealers in the relevant markets,
end-users of the relevant product, information vendors, brokers and other sources of market information.

 Without duplication of amounts calculated based on information described in clause (i), (ii) or (iii) above, or other
 relevant information, and when it is commercially reasonable to do so, the Determining Par may in addition
 consider in calculating a Close-out Amount any loss or cost incured in connection with its termating, liquidating or
 re-establishing any hedge related to a Terminated Transaction or group of Terminated Transactions (or any gain
 resulting from any of them).

 Commercially reasonable procedures used in determining a Close-out Amount may include the following:-

 (1) application to relevant market data from third parties pursuant to clause (ii) above or information from
 internal sources pursuant to clause (iii) above of pricing or other valuation models that are, at the time of the
 determination of the Close-out Amount, used by the Determining Par in the regular coure of its business in pricing
 or valuing transactions between the Determining Part and unrelated third paries that are similar to the Terminated
 Transaction or group of           Terminated Transactions; and




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(2) application of different valuation methods to Termnated Transactions or groups of
                                                                                                             Termnated Traactions
depending on the tye, complexity, size or number of the Termated Trasactions or group of Terminated
Transactions.

"Confirmation" has the meaning specified in the preamble.
"consent" includes a consent, approval, action, authorisation, exemption, notice, fiing, registration or exchange
control consent.

"Contractual Currency"            has the meaning specified in Section 8(a).

"Convention Court" means any court which is bound to apply to the Proceedings either Aricle 17 of the 1968
Brussels Convention on Jurisdiction and the Enforcement of Judgments in Civil and Commercial Matters or
Article 17 of the 1988 Lugano Convention on Jurisdiction and the Enforcement of Judgments in Civil and
Commercial Matters.

"Credit Event Upon Merger" has the meaning specified in Section 5(b).

"Credit Support Document" means any agreement or instrment that is specified as. such in this Agreement.

"Credit Support Provider" has the meaning specified in the Schedule.

"Cross-Default" means the event specified in Section 5(a)(vi).

"Default Rate" means a rate per annum equal to the cost (without proof or evidence of any actual cost) to the
relevant payee (as certified by it) if it were to fund or of funding the relevant amount plus i % per annum.

"Defaulting Party" has the meaning specified in Section 6(a).

"Designated Event" has the meaning specified in Section 5(b )(v).

"Determining Party" means the par determining a Close-out Amount.


"Early Termination Amount" has the meaning specified in Section 6(e).

"Early Termination Date" means the date determined in accordance with Section 6(a) or 6(b)(iv).

"electronic messages" does not include e-mails but does include documents expressed in markup languages, and
"electronic messaging system" wil be constred accordingly.

"English law" means the law of England and Wales, and "English" wil be constred accordingly.


"Event of Default" has the meaning specified in Section 5( a) and, if applicable, in the Schedule.

 "Force Majeure Event"            has the meaning spedlieil iii ~e¡;Lilili 5(1i).

"General Business Day" means a day on which commercial ban are open for general business (including dealings in
foreign exchange and foreign currency deposits).

 "Illegality" has the meaning specified in Section 5(b).




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"Indemnifable Tax" means any Tax other than a Tax that would not be imposed in respect of a payment under this
Agreement but for a present or former connection between the jurisdiction of the governent or taxation authority
imposing such Tax and the recipient of such payment or a person related to such recipient (including, without
limitation, a connection arising from such recipient or related person being or having been a citizen or resident of
such jurisdiction, or being or having been organised, present or engaged in a trade or business in such jurisdiction, or
having or having had a permanent establishment or fixed place of business in such jurisdiction, but excluding a
connection arising solely from such recipient or related person having executed, delivered, pedormed its obligations
or received a payment under, or enforced, this Agreement or a Credit Support Document).

"law" includes any treaty, law, rule or regulation (as modified, in the case of ta matters, by the practice of any
relevant governmental revenue authority), and "unlawful" wil be constred accordingly.
"Local Business Day" means (a) in relation to any obligation under Section 2(a)(i), a General Business Day in the
place or places specified in the relevant Confiration and a day on which a relevant settlement system is open or
operating as specified in the relevant Confirmation or, if a place or a settlement system is not so specified, as
otherwise agreed by the parties in writing or determned pursuant to provisions contained, or incorporated by
reference, in this Agreement, (b) for the purpose of determining when aWaiting Period expires, a General Business
Day in the place where the event or circumstance that constitutes or gives rise to the Ilegality or Force Majeure
Event, as the case may be, occurs, (c) in relation to any other payment, a General Business Day in the place where the
relevant account is located and, if different, in the principal financial centre, if any, of the currency of such payment
and, if that currency does not have a single recognised principal financial centre, a day on which the settlement
system necessary to accomplish such payment is open, (d) in relation to any notice or other communication, including
notice contemplated under Section 5     (a)(i), a General Business Day (or a day that would have been a General
Business Day but for the occurrence of an event or circumstace which would, if it occurred with respect to payment,
delivery or compliance related to a Transaction, constitute or give rise to an Ilegality or a Force Majeure Event) in
the place specified in the address for notice provided by the recipient and, in the case of a notice contemplated by
Section 2(b), in the place where the relevant new account is to be located and (e) in relation to Section 5(a)(v)(2), a
General Business Day in the relevant locations for performance with respect to such Specified Transaction.

"Local Delivery Day" means, for puroses of Sections 5(a)(i) and 5(d), a day on which settlement systems necessary
to accomplish the relevant delivery are generally open for business so that the delivery is capable of being
accomplished in accordance with customary market practice, in the place specified in the relevant Confirmation or, if
not so specified, in a location as determined in accordance with customary market practice for the relevant delivery.

"Master Agreement" has the meaning specified in the preamble.

"Merger Without Assumption" means the event specified in Section 5( a)( viii).

 "Multiple Transaction Payment Netting" has the meaning specified in Section 2(c).

 "Non-affected Party" means, so long as there is only one Affected Par, the other part.


 ''Non-default Rate" means the rate certified by the Non-defaulting Part to be a rate offered to the Non-defaulting
Part by a major bank in a relevant interban market for overnight deposits in the applicable currency, such bank to
be selec.eci in good faith by the Non-defaulting Part for the purpose of obtaining a representative rate that wil
reasonably rdl~d conditions prevailng at the time in that relevant market.

 ''Non-defaulting Party" has the meaning specified in Section 6(a).

 "Office" means a branch or office of a part, which may be such part's head or home offce.

 "Other Amounts" has the meaning specified in Section 6(f).




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"Payee" has the meaning specified in Section 6(f).

"Payer" has the meaning specified in Section 6(f).

"Potential Event of Default" means any event which, with the giving of notice or the lapse of time or both, would
                     Default.
constitute an Event of



"Proceedings"has the meaning specified in Section 13(b).

"Process Agent" has the meaning specified in the Schedule.

"rate of exchange" includes, without limitation, any premiums and costs of exchange payable in connection with the
purchase of or conversion into the Contractual Currency.

"Relevant Jurisdiction" means, with respect to a part, the jurisdictions (a) in which the part is incorporated,
organised, managed and controlled or considered to have its seat, (b) where an Office though which the part is
acting for purposes of this Agreement is located, (c) in which the par executes this Agreement and (d) in relation to
any payment, from or through which such payment is made.

"Schedule" has the meaning specified in the preamble.

"Scheduled Settlement Date" means a date on which a payment or delivery is to be made under Section 2(a)(i) with
respect to a Transaction.

"Specifed Entity" has the meaning specified in the Schedule.

"Specifed Indebtedness" means, subject to the Schedule, any obligation (whether present or futue, contingent or
                                                       borrowed money.
otherwise, as principal or surety or otherwise) in respect of



"Specifed Transaction" means, subject to the Schedule, (a) any transaction (including an agreement with respect to
any such transaction) now existing or hereafter entered into between one par to this Agreement (or any Credit
Support Provider of such par or any applicable Specified Entity of such par) and the other par to this Agreement
(or any Credit Support Provider of such other par or any applicable Specified Entity of such other part) which is
not a Transaction under this Agreement but (i) which is a rate swap transaction, swap option, basis swap, fOlWard rate
transaction, commodity swap, commodity option, equity or equity index swap, equity or equity index option, bond
option, interest rate option, foreign exchange transaction, cap transaction, floor transaction, collar transaction,
currency swap transaction, cross-currency rate swap trsaction, curency option, credit protection transaction, credit
swap, credit default swap, credit default option, total return swap, credit spread transaction, repurchase transaction,
reverse repurchase transaction, buy/sell-back transaction, securities lending transaction, weather index transaction or
forward purchase or sale of a security, commodity or other financial instrment or interest (including any option with
respect to any of these transactions) or (ii) which is a tye of transaction that is similar to any transaction referred to
in clause (i) above that is currently, or in the future becomes, recurrently entered into in the financial markets
(including terms and conditions incorporated by reference in such agreement) and which is a forward, swap, future,
option or other deriviitivl' on one or more rates, currencies, commodities, equity securities or other equity
instrments, debt securities or other debt instrments, economic indices or measures of economic risk or value, or
other benchmarks against which payments or deliveries are to be made, (b) any combination of these trsactions and
(c) any other transaction identified as a Specified Transaction in this Agreement or the relevant confirmation.

"Stamp Tax" means any stamp, registration, documentation or similar tax.

"Stamp Tax Jurisdiction" has the meaning specified in Section 4(e).




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"Tax" means any present or futue ta, levy, impost, duty, charge, assessment or fee of any natue (including interest,
penalties and additions thereto) that is imposed by any governent or other taxing authonty in respect of any
payment under this Agreement other than a stamp, registration, documentation or similar ta.

"Tax Event" has the meaning specified in Section 5(b).

"Tax Event Upon Merger" has the meaning specified in Section 5(b).

"Terminated Transactions" means, with respect to any Early Termination Date, (a) if resulting from an Ilegality or
a Force Majeure Event, all Affected Transactions specified in the notice given pursuant to Section 6(b)(iv), (b) if
resulting from any other Termination Event, all Affected Transactions and (c) if
                                                                                                               Default,
                                                                                                            resulting from an Event of

all Transactions in effect either immediately before the effectiveness of the notice designating that Early Termination
Date or, if Automatic Early Termination applies, immediately before that Early Termination Date.

"Termination Currency" means (a) if a Termation Curency is specified in the Schedule and that curency is freely
available, that currency, and (b) otherwise, euro if this Agreement is expressed to be governed by English law or
United States Dollars if        this Agreement is expressed to be governed by the laws of                     the State of    New York.

"Termination Currency Equivalent" means, in respect of any amount denominated in the Termnation Currency,
such Termnation Currency amount and, in respect of any amount denominated in a currency other than the
Termination Currency (the "Other Currency"), the amount in the Termination Currency determined by the part
making the relevant determnation as being required to purchase such amount of such Other Currency as at the
relevant Early Termination Date, or, if the relevant Close-out Amount is determined as of a later date, that later date,
with the Termination Currency at the rate equal to the spot exchange rate of the foreign exchange agent (selected as
provided below) for the purchase of such Other Currency with the Termination Currency at or about II :00 a.m. (in
the city in which such foreign exchange agent is located) on such date as would be customar for the determnation of
such a rate for the purchase of such Other Currency for value on the relevant Early Termination Date or that later
date. The foreign exchange agent wil, if only one part is obliged to make a determination under Section 6(e), be
selected in good faith by that part and otherwise wil be agreed by the parties.

"Termination Event" means an Ilegality, a Force Majeure Event, a Tax Event, a Tax Event Upon Merger or, if
specified to be applicable, a Credit Event Upon Merger or an Additional Termination Event.

"Termination Rate" means a rate per anum equal to the arithmetic mean of the cost (without proof or evidence of
any actual cost) to each part (as certified by such part) ifit were to fund or of                          funding such amounts.

 "Threshold Amount" means the amount, if any, specified as such in the Schedule.

 "Transaction" has the meaning specified in the preamble.

 "Unpaid Amounts" owing to any par means, with respect to an Early Tennation Date, the aggegate of (a) in
respect of all Tennated Tranactions, the amounts that becae payable (or that would have become payable but for
Section 2(a)(iii) or due but for Section 5(d)) to such par under Section 2(a)(i) or 2(d)(i)(4) on or pnor to such Early
Tennation Date and which remain unpaid as at such Early Termination Date, (b) in respect of each Termated
 Transaction, for each obligation under Section 2(a)(i) which was (or would liavtl btltlll bul foJ' Stldiuii 2(a)(ii) Of
 5(d)) required to be settled by delivery to such par on or pnor to such Early Tennation Date and which has not
 been so settled as at such Early Termation Date, an amount equal to the fair market value of that which was (or
 would have been) required to be delivered and (c) if                 the Early Tennation Date results from an Event of                  Default, a
 Credit Event Upon Merger or an Additional Termation Event in respect of which all outstading Tranactions are
 Affected Transactions, any Early Termation Amount due pnor to such Early Tennation Date and which remains
 unpaid as of such Early Termination Date, in each case together with any amount of interest accrued or other




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compensation in respect of         that obligation or deferred obligation, as the case may be, pursuant to Section 9(h)(ii)(I)
or (2), as appropriate. The fair market value of any obligation referred to in clause (b) above wil be determed as of
the origially scheduled date for delivery, in good faith and using commercially reaonable procedures, by the par
obliged to make the determation under Section 6( e) or, if each par is so obliged it wil be the average of the
Termation Cuency Equivalents of the fair market values so determed by both pares.

 "Waiting Period" means:-

(a) in respect of an event or circumstance under Section 5(b)(i), other than in the case of Section 5(b)(i)(2)
where the relevant payment, delivery or compliance is actually require'd on the relevant day (in which case no
Waiting Period wil apply), a period of thee Local Business Days (or days that would have been Local Business
Days but for the occurrence of that event or circumstance) following the occurrence of that event or circumstance;
and

(b) in respect of an event or circumstance under Section 5(b)(ii), other than in the case of Section 5(b)(ii)(2)
where the relevant payment, delivery or compliance is actually required on the relevant day (in which case no
Waiting Period wil apply), a period of eight Local Business Days (or days that would have been Local Business
Days but for the occurrence of           that event or circumstance) following the occurrence of                    that event or circumstance.




IN WITNSS WHEREOF the paries have executed this document on the respective dates specified below with
effect from the date specified on the first page of this document.




..~~~~.?r.~.n:.~r-t~.~z.~'.~:.... ... ...... .......... .............              W.R. Grace & Co. - Conn.
                                                                                 .............................................................................
                        (Name of     Part)                                                                  (Name of      Part)



 By:                                                                               By:

        Name:                Roger H. Heintzelman                                         Name:

        Title:               Principal                                                    Title:




 Acknowledged and Agreed;
 Grace International Holdings, Inc.



 Name & Title:




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                                                  ISDA~
                                      International Swaps and Derivatives Association, Inc.

                                                          SCHEDULE
                                                                 to the
                                               2002 Master Agreement
                                                dated as of December 22, 2009

                                                                 between

                                       BANK OF AMERICA, N.A.,
                                       a national banking association
                   organized and existing under the laws of the United States of America,
                                                 ("Part A")
                                                                     and

                                              W.R. GRACE & CO. - CONN.,
                      a corporation organized and existing under the laws of Connecticut,
                                                               ("Part B")



                                             PART 1: Termination Provisions

(a) "Specifed Entity" means in relation to Part A for the purpose of Sections 5
                                                                                                                   (a)(v),
           5(a)(vi), 5(a)(vii) and 5(b)(v):

           None;

            "Specifed Entity" means in relation to Part B for the purpose of Sections 5                            (a)(v),
            5(a)(vi), 5(a)(vii) and 5(b)(v):

           None.

(b) "Specifed Transaction" wil have the meaning specified in Section 14 but shall also
            include any transaction with respect to margin loans, cash loans and short sales of any
            financial instrument.

(c) The "O'oss-Defaiilt" provisions of Section 5( a)( vi)
                        wil apply to Part A and
                        wil apply to Part B.

            In connection therewith, "Specifed Indebtedness" wil have the meaning specified in
            Section 14, except that such term shall not include obligations in respect of deposits
            received in the ordinaiy course of a part's banking business.




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           "Threshold Amount" means with respect to Part A an amount equal to three percent
           (3%) of the Shareholders' Equity of Ban of Amenca Corporation and with respect to
           Part B, ten milion dollars ($10,000,000).


           With respect to Part B, an Event of Default, as defined in the Credit Agreement, shall be
           an Event of Default under this Agreement.

           "Credit Agreement" means the Post-Petition Letter of Credit Facility Agreement dated
           on or about Januar , 2010 among the financial institutions part thereto from time to
           time and defined therein as Letter of Credit Issuers, Bank of Amenca, N.A., as Agent,
           and W.R. Grace & Co. - Conn., as Account Part (as amended, extended, supplemented
           or otherwise modified in writing from time to time).

           "Shareholders' Equity" means with respect to an entity, at any time, the sum (as shown
           in the most recent annual audited financial statements of such entity) of (i) its capital
           stock (including preferred stock) outstanding, taen at par value, (ii) its capital surplus
           and (iii) its retained earnings, minus (iv) treasury stock, each to be determined in
           accordance with generally accepted accounting pnnciples.

(d) The "Credit Event Upon Merger" provisions of
                                                                   Section 5(b)(v)
                        wil apply to Part A
                        wil apply to Part B.

(e) The "Automatic Early Termination" provision of Section 6( a)
                        wil not apply to Part A
                        wil not apply to Part B.

(f) "Termination Currency" means United States Dollars.

(g) Additional Termination Event wil apply.

            It shall be an Additional Termination Event hereunder, with respect to which Part B
            shall be the sole Affected Part, if for any reason other than a voluntary assignment by
            Party A of its position as a lender under the Credit Agreement (i) either Part A's
            obligation to lend or issue letters of credit under the Credit Agreement is terminated or
            Part A ceases to be a part to the Credit Agreement and (ii) within three (3) General
            Business Days of such occurrence Part B fails to execute and deliver to Part A an
            ISDA Credit Support Annex, in form and substance satisfactory to Part A in its sole
            discretion (and substantially in the form of Exhibit A attched hereto) to secure Par B's
            obligations hereunder.




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       It shall be an Additional Termination Event hereunder, with respect to which Part B
       shall be the sole Affected Part, if for so long as either Part A has an obligation to lend
       or issue letters of credit under the Credit Agreement or Part A is a part to the Credit
       Agreement (a) (1) Part A ceases to be a secured part under the Credit Agreement, (2)
       the guarantee obligations of the loan parties, if any, under the Credit Agreement do not
       extend to the obligations of             Part B hereunder, (3) all or substantially all of              the collateral
       under the Credit Agreement and related letter of credit documents is released without the
       prior written consent of           Part A, or (4) the obligations and liabilties of                Part B hereunder
       fail to be senior secured, pari passu and equal in right and priority of payment with the
       Obligations under the Credit Agreement to the extent provided for on the effective date of
       the Credit Agreement and (b) within three (3) General Business Days of such occurrence
       Part B fails to execute and deliver to Part A an ISDA Credit Support Annex, in form
       and substance satisfactory to Part A in its sole discretion (and substantially in the form
       of Exhibit A attached hereto) to secure Part B's obligations hereunder.




                                           PART 2: Tax Representations

(a) Payer Tax Representations. For the purpose of Section 3(e) of this Agreement, Part A
       and Part B wil make the following representation:-

       It is not required by any applicable law, as modified by the practice of any relevant
       governental revenue authority, of any Relevant Jurisdiction to make any deduction or
       withholding for or on account of any Tax from any payment (other than interest under
       Section 9(h) of this Agreement) to be made by it to the other part under this Agreement.
       In making this representation, it may rely on (i) the accuracy of any representations made
       by the other part pursuant to Section 3(f) of this Agreement, (ii) the satisfaction of the
       agreement contained in Section 4(a)(i) or 4(a)(ii) of  this Agreement and the accuracy and
       effectiveness of any document provided by the other part pursuant to Section 4(a)(i) or
       4(a)(iii) of this Agreement and (iii) the satisfaction of the agreement of the other part
       contained in Section 4( d) of this Agreement, except that it wil not be a breach of this
       representation where reliance is placed on clause (ii) above and the other party does not
       deliver a form or document under Section 4(a)(iii) by reason of                              material prejudice to its
       legal or commercial position.

(b) Payee Tax Representations. For the purpose of Section 3(f) of this Agreement, Part A
       and Part B wil make the following representations specified below, if any:-

       (i) The following representations wil apply to Part A:

                   Part A is a national banking association created or organized under the laws of
                   the United States of America and the federal taxpayer identification number is
                   XX-XXXXXXX.

       (ii) The following representations wil apply to Part B:

                   Part B is a corporation created or organized under the laws of the State of
                   Connecticut and the federal taxpayer identification number is XX-XXXXXXX.




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                           PART 3: A!!reement to Deliver Documents

For the purpose of Section 4(a)(i) and (ii) of this Agreement, each part agrees to deliver the
following documents:

(a) Tax forms, documents or certificates to be delivered are:

       Party required to            Form/ocument/Certificate             Date by which to be delivered
       deliver document
       Part B                       Internal Revenue Service              Upon execution and delivery of
                                    Form W-9                              this Agreement


(b) Other documents to be delivered are:-

   Party               FormlDocument/Certifcate                 Date by                   Covered by
   required to                                                                            Section 3( d)
   deliver                                                      which to be               Representation
   document                                                     delivered

   Part A              Annual Report of Bank of America         To be made                Yes
                       Corporation containing audited,          available on
                       consolidated financial statements        ww.bankofamerica.
                       certified by independent certified       com/investor/ as
                       public accountants and prepared in       soon as available
                       accordance with generally accepted       and in any event
                       accounting principles in the country     within 105 days
                       in which such part is organized          after the end of
                                                                each fiscal year of
                                                                Part A

   Part B              Annual Report of Part B and of           To the extent not         Yes
                       any Credit Support Provider thereof      otherwise delivered
                       containing audited, consolidated         to Part A or
                       financial statements certified by        posted on (website
                       independent certified public             details to be
                       accountants and prepared in              inserted), as soon
                       accordance with generally accepted       as available and in
                       accounting principles in the countr      any event within
                       in which such part and such Credit       105 days after the
                       Support Provider is organized            end of each fiscal
                                                                year of Part Band
                                                                of the Credit
                                                                Support Provider




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Party         FormIocument/Certificate                    Date by                     Covered by
required to                                                                           Section 3( d)
deliver                                                   which to be                 Representation
document                                                  delivered

                                                                                      Yes
Part A        Quarterly Financial Statements of           To be made
              Bank of America Corporation                 available on
              containing unaudited, consolidated          ww.bankofamerica.
              financial statements of such part's         com/investor! as
              fiscal quarter prepared in                  soon as available
              accordance with generally accepted          and in any event
              accounting principles in the countr         within 45 days after
              in which such part is organized             the end of each
                                                          fiscal quarter of
                                                          Part A

Part B        Quarterly Financial Statements of           To the extent not            Yes
              Part B and any Credit Support               otherwise delivered
              Provider thereof containing                 to Part A or
              unaudited, consolidated financial           posted on (website
              statements of such part's fiscal            details to be
              quarter prepared in accordance with         inserted), as soon
              generally accepted accounting               as available and in
              principles in the countr in which           any event within 45
              such part and such Credit Support           days after the end
              Provider is organized                       of each fiscal
                                                          quarter of Part B
                                                          and of the Credit
                                                          Support Provider

Part A and    Certified copies of all corporate,          Upon execution               Yes
Part B        partership or membership                    and delivery of      this

              authorizations, as the case may be          Agreement

Part A and    Certificate of authority and                Upon execution               Yes
Part B        specimen signatures of individuals          and delivery of this
              executing this Agreement and any            Agreement and
              Credit Support Document                     thereafter upon
                                                          request of the other
                                                          part




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                                             PART 4: Miscellaneous

(a) Address/or Notices. For the purpose of
                                                         Section 12(a) of   this Agreement:-

            Address for notice or communications to Part A:

                  Bank of America, N.A.
                  Sears Tower
                  233 South Wacker Drive, Suite 2800
                  Chicago, IL 60606
                  Attention: Swap Operations
                  Telephone No.: 312-234-2732
                  Facsimile No.: 866-255-1444

            with a copy to:

                  Bank of America, N.A.
                  One Bryant Park, NY1-100-03-01
                  New York, NY 10036
                  Attention: Client Integration Group
                  Facsimile No.: 212-548-8622

            Address for financial statements to Part A:

                  Bank of America, N.A.
                  335 Madison Avenue, 6th Floor
                  New  York, NY 10017
                  Attention: Edmundo Kahn, Vice President
                  Mail Code: NYI-503-06-B
                  Telephone No.: 646-556-0370
                  Facsimile No.: 312-453-3977

            Address for notice or communications to Part B:

                  W.R. Grace & Co. - Conn.
                  7500 Grace Drive
                  Columbia, MD 21044
                  Attention: Asif Arshad
                  Telephone No.:
                  Facsimile No.:
                  Email Address:asif.arshad(qgrace.com


 (b) Process Agent. For the purpose of
                                                    Section B(c):

            Part A appoints as its Process Agent: Not applicable.

             Part B appoints as its Process Agent: Not applicable.


 (c) Offces. The provisions of
                                             Section 10(a) wil apply to this Agreement.

 (d) Multibranch Party. For the purpose of
                                                         Section 1O(b) of   this Agreement:-




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       Part A is a Multibranch Part and may enter into a Transaction through its Charlotte,
      North Carolina, Chicago, Ilinois, San Francisco, California, New York, New York,
      Boston, Massachusetts or London, England Office or such other Office as may be agreed
      to by the parties in connection with a Transaction.

       Part B is not a Multibranch Part.

( e) Calculation Agent. The Calculation Agent is Part A; provided that a nationally
       recognized dealer in the relevant market mutually appointed by the parties shall be the
       Calculation Agent if an Event of Default has occurred and is continuing with respect to
       Part A.


(f) Credit Support Document. Details of any Credit Support Document:-

       Each of the following, as amended, extended, supplemented or otherwise modified in
       writing from time to time, is a "Credit Support Document":

       In relation to Part B,

       the Letter of Credit Documents, as defined in the Credit Agreement.

       Part B agrees that the security interests in collateral granted to Part A under the
       foregoing Credit Support Documents shall secure the obligations of Part B to Part A
       under this Agreement.

(g) Credit Support Provider.

       Credit Support Provider means in relation to Part A: Not applicable.

       Credit Support Provider means in relation to Part B: Not applicable.


(h) Governing Law. This Agreement and any and all controversies arising out of or in
       relation to this Agreement wil be governed by and construed in accordance with the laws
       of the State of New York (without reference to its conflict oflaws doctrine).

(i) Netting of Payments. Subparagraph (ii) of Section 2(c) shall not apply with respect to
       the following groups of Transactions, but only within such groups, and each such group
       shall itself be treated separately for purposes of payment netting.

       (a) FX Transactions and Currency Option Transactions (each as defined in the 1998 FX
       and Currency Option Definitions, published by the International Swaps and Derivatives
       Association, Inc. ("ISDA"), Emerging Markets Traders Association, and The Foreign
       Exchange Committee) (but excluding payments with respect to option premiums and
       cash settled options);

       (b) Like Commodities Transactions (as defined in the 2005 ISDA Commodity
       Definitions, published by ISDA) (but excluding payments with respect to option
       premiums). For purposes of clarity, gas transactions wil net only with other gas
       transactions; power transactions wil net only with other power transactions; metals
       transactions wil net only with other metal transactions, and so on; and


       (c) Credit Derivatives Transactions (as defined in the 2003 ISDA Credit Derivatives
       Definitions, published by ISDA).


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       (d) Equity Swap Transactions, Option Transactions, Forward Transactions, Index
       Transactions, Share Transactions, Index Basket Transactions, Share Basket Transactions,
       Basket Option Transactions, Basket Forward Transactions and Basket Swap Transactions
       (as defined in the 2002 ISDA Equity Denvatives Definitions, published by ISDA).

G) "Affliate" wil have the meaning specified in Section 14 of this Agreement.

(k) Absence of Litigation. For the purpose of Section 3(c):- "Specified Entity" means in
       relation to Part A, none;

       "Specified Entity" means in relation to Part B, none.

(1) No Agency. The provisions of Section 3(g) wil apply to this Agreement.

(m) Additional Representation wil apply. For the purpose of Section 3 of this Agreement,
       each of   the following wil constitute an Additional Representation:-


       Relationship Between Parties. Each part wil be deemed to represent to the other part
       on the date on which it enters into a Transaction that (absent a wntten agreement between
       the parties that expressly imposes affrmative obligations to the contrary for that
       Transaction):-

       (A) Non-Reliance. It is acting for its own account, and it has made its own
                 independent decisions to enter into that Transaction and as to whether that
                 Transaction is appropriate or proper for it based upon its own judgment and upon
                 advice from such advisors as it has deemed necessary. It is not relying on any
                 communication (written or oral) of the other part as investment advice or as a
                 recommendation to enter into that Transaction, it being understood that
                 information and explanations related to the terms and conditions of a Transaction
                 shall not be considered investment advice or a recommendation to enter into that
                 Transaction. No communication (written or oral) received from the other part
                 wil be deemed to be an assurance or guarantee as to the expected results of that
                 Transaction.

       (B) Assessment and Understanding. It is capable of assessing the merits of and
                 understanding (on its own behalf or through independent professional advice),
                 and understands and accepts, the terms, conditions and nsks of that Transaction.
                 It is also capable of        assuming, and assumes, the nsks of        that Transaction.

       (C) Status of Parties. The other part is not acting as a fiduciary for or an advisor to
                 it in respect of        that Transaction.

       (D) Eligible Contract Participant. It is an "eligible contract paricipant" as defined in
                 Section la(12) of         the U.S. Commodity Exchange Act, 7 U.S.C. Section la(12).

(n) Recording of Conversations. Each part to this Agreement acknowledges and agrees to
       the recording of conversations between trading and marketing personnel of the parties to
       this Agreement whether by one or other or both of the parties or their agents.




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                                             PART 5: Other Provisions

(a) Delivery of Confirmations. For each Transaction entered into hereunder, Part A shall
       promptly send to Part B a Confirmation (which may be via facsimile transmission).
       Part B agrees to respond to such Confirmation within two Local Business Days, either
       confirming agreement thereto or requesting a correction of any error(s) contained therein.
       Failure by Part A to send a Confirmation or of Part B to respond within such period
       shall not affect the validity or enforceability of such Transaction. Absent manifest error,
       if Part B does not respond within such time requesting a correction of any error(s)
       contained therein, there shall be a presumption that the terms contained in such
       Confirmation are the terms of the Transaction.

(b) Furnishing Specifed Information. Section 4(a)(iii) is hereby amended by inserting
       "promptly upon the earlier of (I)" in lieu of the word "upon" at the beginning thereof and
       inserting "or (2) such part learning that the form or document is required" before the
       word "any" on the first line thereof.

(c) Waiver of Right to Trial by Jury. EACH PARTY HEREBY IRRVOCABL Y WAIVES
       ANY AND ALL RIGHTS TO TRIAL BY WRY WITH RESPECT TO ANY LEGAL
       PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT, ANY
       CREDIT SUPPORT DOCUMENT OR ANY TRANSACTION CONTEMPLATED
       HEREBY.

(d) Hedge Agreement; Bank Products. Part B represents to Part A (which representation
       wil be deemed to be repeated by Part B on each date on which a Transaction is entered
       into) that this Agreement is a Hedge Agreement (as defined in the Credit Agreement) and
       a Bank Product (as defined in the Credit Agreement).

(e) 2002 Master Agreement Protocol. Annexes 1 to 18 and Section 6 of the ISDA 2002
       Master Agreement Protocol as published by the International Swaps and Derivatives
       Association, Inc. on July 15, 2003 are incorporated into and apply to this Agreement.
       References in those definitions and provisions to any ISDA Master Agreement wil be
       deemed to be references to this Master Agreement.

(f) USA PATRIOT Act Notice. Part A hereby notifies Part B that pursuant to the
        requirements of        the USA Patriot Act (Title II of           Pub. L. 107-56 (signed into law October
        26, 2001)) (the "Act"), it is required to obtain, veritY and record information that
        identifies Part B, which information includes the name and address of Part B and other
        information that wil allow Part A to identitY Part B in accordance with the Act.


(g) Restatement and Amendment of Prior Agreement. This Master Agreement restates and
        amends in its entirety the ISDA Master Agreement dated as of
                                                                     May 12,2003 between the
        parties hereto (the "Prior Agreement"). Each confirmation to the Prior Agreement shall
        be deemed a Confirmation subject to this Agreement, and each transaction subject to such
        a confirmation shall be governed hereby.

 (h) Safe Harbors. Each part to this Agreement acknowledges that:




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       (i) This Agreement, including any Credit Support Document, is a "master netting
              agreement" as defined in the U.S. Bankptcy Code (the "Code"), and a "netting
              contract" as defined in the netting provisions of the Federal Deposit Insurance
              Corporation Improvement Act of 1991 ("FDICIA"), and this Agreement,
              including any Credit Support Document, and each Transaction hereunder is of a
              tye set forth in Section 561(a)(I)-(5) of
                                                                     the Code;

       (ii) Part A is a "master netting agreement participant," a "financial institution," a
              "financial participant," a "forward contract merchant" and a "swap participant" as
              defined in the Code, and a "financial institution" as defined in the netting
              provisions ofFDICIA;

       (iii) The remedies provided herein, and in any Credit Support Document, are the
              remedies referred to in Section 561(a), Sections 362(b)(6), (7), (17) and (27), and
              Section 362(0) of the Code, and in Section 11(e)(8)(A) and (C) of the Federal
              Deposit Insurance Act;

       (iv) All transfers of cash, securities or other propert under or in connection with this
               Agreement, any Credit Support Document or any Transaction hereunder are
               "margin payments," "settlement payments" and "transfers" under Sections 546(e),
               (f), (g) or 0), and under Section 548(d)(2) of
                                                              the Code; and

       (v) Each obligation under this Agreement, any Credit Support Document or any
               Transaction hereunder is an obligation to make a "margin payment," "settlement
               payment" and "payment" within the meaning of                 Sections 362, 560 and 561 of   the
               Code.

(i) Bankruptcy. Section 5(a)(vii) shall apply; provided, however, that the parties hereto
       acknowledge and agree that, notwithstanding the fact that a Bankptcy Case (as defined
       in the Credit Agreement) has been commenced and is pending as to Part B, such
       commencement and pendency shall not be an Event of Default under Section 5(a)(vii) or
       hereunder with respect to Part B as the Defaulting Part unless either of the following
       events shall have occurred:

               (i) at any time following either Part B's discharge from its current Chapter
                           11 Bankptcy, either Par B shall default under Section 5(a)(vii)
                           herein; or

               (ii) any of the Bankptcy Cases (as defined in the Credit Agreement) shall
                           be dismissed or converted to a case under Chapter 7 of the Bankptcy
                           Code or any of          the Borrowers (as defined in the Credit Agreement) shall
                           fie a motion or other pleading seeking the dismissal of any of the
                           Bankptcy Cases under Section 11 12 of the Bankruptcy Code or
                           otherwise; or a trustee under Chapter 7 or Chapter 11 of the Bankptcy
                           Code, a responsible offcer or an examiner with enlarged powers relating
                           to the operation of the business (powers beyond those set forth in Section
                           1106(a)(3) and (4) of  the Bankptcy Code) under Section l106(b) of     the
                           Bankptcy Code shall be appointed in any of the Bankptcy Cases and
                           the order appointing such trustee, responsible offcer or examiner shall
                           not be reversed or vacated within 30 days after the entr thereof.




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      PART 6: Additional Terms for Forei2n Exchan2e and Forei2n Exchan2e Option
                                     Transactions

(a) Incorporation of Definitions. The 1998 FX and Currency Option Definitions (the "FX
        Derinitions"), published by the International Swaps and Denvatives Association, Inc., the
        Emerging Markets Traders Association and The Foreign Exchange Commttee, are hereby
        incoiporated by reference with respect to FX Transactions (as derined in the FX
        Definitions) and Cuency Option Transactions (as defined in the FX Definitions). Term
        defined in the FX Definitions shall have the same meanings in this Part 6.

(b) Scope. Unless otherwise agreed in wnting by the parties, each FX Trasaction and
        Curency Option Transaction entered into between the parties before, on or after the date of
        this Agreement shall be a Transaction under this Agreement and shall be part of, subject to
        and governed by this Agreement. FX Transactions and Currency Option Transactions shall
        be par of, subject to and governed by this Agreement even if the Cônfirmation in respect
        thereof does not state that such FX Transaction or Currency Option Transaction is subject
        to or governed by this Agreement or does not otherwise reference this Agreement.

(c) Premium Netting. If, on any date, and unless otherwise mutually agreed by the parties,
        Premiums would otherwise be payable hereunder in the same Currency between the same
        respective offces of the parties, then, on such date, each part's obligation to make
        payment of such Premiums wil be automatically satisfied and discharged and, if the
        aggregate Premiums that would otherwise have been payable by such offce of one part
        exceeds the aggregate Premiums that would otherwise have been payable by such offce
        of the other part, replaced by an obligation upon the part by whom the larger aggregate
        Premiums would have been payable to pay the other part the excess of the larger
        aggregate Premiums over the smaller aggregate Premiums, and if the aggregate
        Premiums are equal, no payment shall be made.

IN WITNESS WHEREOF, the parties have executed this Schedule by their duly authorized
offcers as of the date hereof.




BANK OF AMERICA, N.A.                              W.R. GRACE & CO. - CONN.




Name: Roger H. Heintzelman                         Name:
Title: Principal                                   Title:

Acknowledged and Agreed:

Grace International Holdings, Inc.


Name & Title:




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                        EXHIIT C

                Form of Control Agreements
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                                                                                        Final Draft

                                                                     (Account - Without Activation)

                                DEPOSIT ACCOUNT CONTROL AGREEMENT

           This Agreement is entered into as of ,2010, among W.R. Grace & Co.-Conn.
("Company"), Bank of America, N.A., in its capacity as agent for the holders of the Obligations
(as defined in the LC Agreement as defined below) (in such capacity, "Agent"), and Bank of
America, N.A. ("Bank") with respect to the following:

           A. Bank has agreed to establish and maintain for Company deposit account number
              . (the "Account").

           B. Pursuant to that certain Post-Petition Letter of Credit Facility Agreement, dated as
of , 2010, by and among Company, Agent and the Letter of Credit Issuers from time to
time part thereto (the "LC Agreement"), Company has granted to Agent a securty interest in the
Account and all amounts on deposit in the Account (such amounts, the "Account Funds").

           C. Company, Agent and Bank are entering into this Agreement to evidence Agent's
security interest in the Account and the Account Funds and to provide for the disposition of the
Account Funds.

Accordingly, Company, Agent and Bank agree as follows:

1. (a) This Agreement evidences Agent's control over the Account. Notwithstanding
anything to the contrary in the agreement between Bank and Company governing the Account,
Bank wil comply with instructions originated by Agent as set forth herein directing the disposition
of the Account Funds without further consent of Company.

           (b) Company represents and warrants to Agent and Bank that it has not
assigned or granted a security interest in the Account or Account Funds, except to Agent.

      (c) Company wil not permt the Account to become subject to any other pledge,
assignment, lien, charge or encumbrance of any kind, other than Agent's security interest
referred to herein.

       (d) Bank of America, N.A., in its capacity as Agent, agrees with Company that it wil
not withdraw or initiate transfers of Account Funds from the Account except as permitted by
Sections 1.2(e) and 3.2(c) of         the LC Agreement.

2. Bank shall prevent Company from making any withdrawals from the Account. Company
agrees that Agent may from time to time in its sole discretion instrct the Bank to initiate transfers
of the Account Funds to Agent at its account specified below (the "Agent's Account') or to such
other account as Agent may direct in wrting:

Bank Name: Bank of America, N.A.
ABA No. ACH transfers:
ABA No. Wire transfers:

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Account Name:
Account No.:

3. Notwithstanding anything to the contrar set forth herein, Ban shall not be permitted to
charge the Account for the fees, charges and other amounts payable to Bank hereunder or
otherwise.

4. (a) Bank wil send information regarding the deposits to the Accounts to the address
specified below for Company or as otherwise specified in wrting by Company to Bank.

        (b) In addition to the original Bank statement provided to Company, Bank wil provide
Agent with a duplicate of such statement.

5. (a) Bank wil not be liable to Company or Agent for any expense, claim, loss, damage
or cost ("Damages") arising out of or relating to its pedormance under this Agreement other than
those Damages which result directly from its acts or omissions constituting gross negligence or
intentional misconduct.

        (b) In no event wil Bank be liable for any special, indirect, exemplary or consequential
damages, including but not limited to lost profits.

        (c) Bank wil be excused from failing to act or delay in acting, and no such failure or
delay shall constitute a breach of this Agreement or otherwise give rise to any liability of Bank, if
(i) such failure or delay is caused by circumstances beyond Bank's reasonable control, including
but not limited to legal constraint, emergency conditions, action or inaction of governmental, civil
or miltary authority, fire, strike, lockout or other labor dispute, war, riot, theft, flood, earthquake
or other natural disaster, breakdown of public or private or common carrier communications or
transmission facilities, equipment failure, or negligence or default of Company or Agent or (ii)
such failure or delay resulted from Bank's reasonable belief that the action would have violated
any guideline, rule or regulation of any governmental authority.

        (d) Bank shall have no duty to inquire or determine whether Company's obligations to
Agent are in default or whether Agent is entitled to provide the Notice to Bank. Bank may rely on
notices and communications it believes in good faith to be genuine and given by the appropriate
part.
        (e) Bank shall be permitted to comply with any writ, levy order or other similar
judicial or regulatory order or process concerning the Account or any Account Funds and shall not
be in violation of this Agreement for so doing.

6. (a) Company shall indemnify Bank against, and hold it harmless from, any ancl all
liabilities, claims, costs, expenses and damages of any nature (including reasonable attorney's fees
and expenses) in any way arising out of or relating to disputes or legal actions concerning Bank's
provision of the services described in this Agreement. This section does not apply to any cost or
damage attributable to the gross negligence or intentional misconduct of Bank. Company's
obligations under this section shall survive termination of this Agreement.

        (b) Agent hereby agrees to indemnify, defend and hold harmless Bank against any loss,
liability or expense (including but not limited to allocated costs of staff counsel, other reasonable

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attorney's fees and any fees and expenses) ansing from Bank complying with any wrtten
instrctions of Agent pursuant to this Agreement other than if related to Bank's gross negligence,
bad faith, or wilful misconduct. Agent's obligations under this section shall survive termination
of this Agreement.

7. (a) Company shall pay to Bank, upon receipt of                                      Bank's invoice, all costs, expenses and
reasonable attorneys' fees incurred by Bank in connection with the enforcement of                               this Agreement
and any instrment or agreement required hereunder, including but not limited to any such
reasonable costs, expenses and fees arising out of the resolution of any conflct, dispute, motion
regarding entitlement to rights or rights of action, or other action to enforce Bank's rights in a case
arising under Title 11, United States Code. Company agrees to pay Ban, upon receipt of                                  Bank's
invoice, all costs, expenses and attorneys' fees incured by Bank in the preparation and
administration of this Agreement (including any amendments hereto or instrments or agreements
required hereunder).

            (b) Agent shall pay to Bank, upon receipt of Bank's invoice, all reasonable costs;
expenses and attorneys' fees (including allocated costs for in-house legal services) incured by
Bank in connection with the enforcement against Agent of this Agreement and any instrment or
agreement required hereunder to the extent that Bank is the prevailing part in such enforcement
action.

8. Termination and Assignent of this Agreement shall be as follows:

            (a) Agent may terminate this Agreement by providing notice to Company and Bank
that all of Company's obligations which are secured by Accounts Funds and the Account are paid
in fulL. Agent may also terminate or assign this Agreement upon 30 day's prior written notice to
Company and Bank; provided, however, that any such assignment shall only be to an affiliate or
wholly-owned subsidiary of Agent. Bank may terminate this Agreement upon 30 days' prior
written notice to Company and Agent. Company may not terminate this Agreement except with
the written consent of Agent and upon prior written notice to Bank.

            (b) Notwithstanding subsection 8(a), Bank may terminate this Agreement at any time
by written notice to Company and Agent if either Company or Agent breaches any ofthe terms of
this Agreement, or any other agreement with Bank.

9. (a) Each part represents and warrants to the other parties that (i) this Agreement
constitutes its duly authorized, legal, valid, binding and enforceable obligation; (ii) the
performance of its obligations under this Agreement and the consummation of the transactions
contemplated hereunder wil not (A) constitute or result in a breach of its certificate or articles of
incorporation, by-laws or partership agreement, as applicable, or the provisions of any material
contract to which it is a part or by which it is bounù or (B) result in the violation of any law,
regulation, judgment, decree or governental order applicable to it; and (iii) all approvals and
authorizations required to permit the execution, delivery, performance and consummation of this
Agreement and the transactions contemplated hereunder have been obtained.

            (b) The parties each agree that they shall be deemed to make and renew each
representation and warranty in subsection 9(a) on and as of each day on which Company uses the
services set forth in this Agreement.


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10. (a) This Agreement may be amended only by a wrting signed by Company, Agent
and Bank; except that Ban's charges are subject to change by Bank upon 30 days' prior wrtten
                                                              this Agreement.
notice to Company. This Section shall survive the termination of




            (b) This Agreement may be executed in counterparts; all such counterparts shall
constitute but one and the same agreement.

            (c) This Agreement controls in the event of any conflict between this Agreement and
any other document or written or oral statement. This Agreement supersedes all prior
understandings, wrtings, proposals, representations and communications, oral or wrtten, of any
part relating to the subject matter hereof. This Agreement may not be amended except by a
wrtten agreement executed and delivered by all parties hereto.

            (d) This Agreement shall be interpreted in accordance with New York law without
reference to that state's principles of conflcts of law.

11. Any written notice or other wrtten communication to be given under this Agreement shall
be addressed to each part at its address set forth on the signature page of this Agreement or to
such other address as a part may specify in writing. Such notice shall be effective upon receipt.

12. Nothing contained in the Agreement shall create any agency, fiduciary, joint venture or
partnership relationship between Bank and Company or Agent.

                                                            (signature pages follow)




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         In Witness Whereof, the parties hereto have executed this Agreement by their duly
authorized officers as ofthe day and year first above wrtten.

W.R. Grace & Co.-Conn.
("Company")
By:                                                             Address for notices:
Name:
Title:                                                          7500 Grace Drive
                                                                Columbia, Maryland 21044
                                                                Attention: Asif Arshad
                                                                Fax: 410-531-4461

Bank of America, N.A.
("Agent")
By:                                                             Address for notices:
Name:
Title:                                                          335 Madison Avenue
                                                                New   York, New        York 10017
                                                                Attention: Allan Juleus and Ed Kahn
                                                                Fax: 312-453-3977

Bank of America, N.A. ("Bank")

By:                                                             Address for notices:
Name:
Title:                                                          600 Peachtree Street, 10th Floor
                                                                Atlanta, GA 30308
                                                                Attn: Connie Warfield
                                                                Tel: 404-607-5375
                                                                Fax: 904-312-6756 and,

                                                                600 Peachtree Street, 10th Floor
                                                                Atlanta, GA 30308
                                                                Att: Shanelle Dawson
                                                                Tel: 404-607-5493
                                                                Fax: 404-607-6281




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                                                                         HEADER TEXT



                                   EXHIT D

                       Form of Termination of DIP Facilty




Document Name                                          Month Day, Year
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                                                                                                               Final Draft


                                               PAYOFF CONFIRMTION LETTER
                                                                         ,2010



W.R Grace & Co.
and the Subsidiaries thereof listed
on the signature pages hereto
c/o W.R. Grace & Co.-Conn.
7500 Grace Drive
Columbia, MD 21044
Att: Chief Financial Officer


Re: Post-Petition Loan and Security Agreement. dated as of April 1. 2001. as amended (the "Loan
           Agreement"), among the financial institutions named therein (collectively. "Lenders"). Bank of
           America. N.A. ("BofA"). as agent for such Lenders ("Agent"), and W.R. Grace & Co. and the
           Subsidiaries of W.R. Grace & Co. named therein (collectivelv. "Borrowers"). together with the
           credit facility documents and agreements executed in connection therewith (collectivelv. "2001
            Loan Documents")

Ladies and Gentlemen:

            Agent has been informed that Borrowers intend to terminate the 2001 Loan Documents on
             ,2010 (the "Payoff Date") and to satisfy in full all loans and other obligations of Borrowers
to Agent and the Lenders outstanding as of the Payoff Date (except Borrowers' obligations relating to the
Letters of Credit and Hedge Transactions described below), including all principal, interest, fees,
expenses and other amounts outstanding or payable under the 2001 Loan Documents (collectively, the
"Relevant Obligations").

           Notwithstanding such payment of the Relevant Obligations, however, Agent and the Borrowers
have agreed that, subject to satisfaction of              the conditions set forth in this letter agreement:

                    (a) the letters of credit listed on Attchment A issued pursuant to the Loan Agreement
            (collectively, "Letters of Credit") shall remain outstanding and shall, on and after the Payoff
            Date, become letters of credit under, and subject to the terms and conditions of, that certain Post-
            Petition Letter of Credit Facility Agreement in the form attached hereto as Attachment B (the
            "LC Agreement"), to be dated on or about the Payoff Date, among the financial institutions from
            time to time part thereto, as letter of credit issuers, BofA, as the agent for the letter of credit
            issuers (in such capacity, the "New Agent"), and W.R. Grace & Co.-Conn ("Grace Conn"), as the
            account part; and


                        (b) the outstanding Transactions (the "Hedge Transactions") under and as defined in that
            certain ISDA Master Agreement, dated as of                         May 12,2003, among BofA, Grace Conn and Grace
            International Holdings, Inc. ("GIH"), shall remain outstanding and shall, on and after the Payoff
            Date, become Transactions under and as defined in, and subject to the terms and conditions of,
            the Swap Documents (as defined in the LC Agreement), the obligations in respect of                    which shall


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            constitute Obligations of Grace Conn under and as defined in the LC Agreement and shall be
            secured by the Cash Collateral Accounts defined in the LC Agreement.

        Agent has agreed to accept the payoff, to allow the Letters of Credit and the Hedge Transactions
to remain outstanding and become Letters of Credit and Hedge Transactions, respectively, under the LC
Agreement, and to release its liens under the 2001 Loan Documents on Borrowers' assets ("Agent's
Liens"), on the terms set forth in this letter agreement.

            Agent agrees that, upon receipt by Agent no later than 3:00 PM on the Payoff Date, of (a)
immediately available funds in an amount equal to $ (the "Payoff Amount"), which
consists of $ of pnncipal, $ of interest, and $ of fees and
expenses, (b) notification from the New Agent that (i) each of                  the conditions set forth in Section 8.1 of           the
LC Agreement has been satisfied or waived in accordance with the terms thereof, and (ii) cash collateral
has been deposited in the Cash Collateral Accounts (as defined in the LC Agreement) as follows: (A) in
the LlC Cash Collateral Account (as defined in the LC Agreement), immediately available funds in an
amount equal to $ , (B) in the FIX Hedge Cash Collateral Account (as defined in the LC
Agreement), immediately available funds in an amount equal to $ and (C) in the
Commodity Hedge Cash Collateral Account (as defined in the LC Agreement), immediately available
funds in an amount equal to $ , and (c) a fully executed copy of this letter agreement:

            1. The Relevant Obligations wil be satisfied and the 2001 Loan Documents wil be
terminated, other than (a) Borrowers' obligations relating to the Letters of Credit and the Hedge
Transactions, which shall remain outstanding and shall become "Obligations" under and as defined in the
LC Agreement, and (b) any indemnification and other provisions that surVive under the express terms of
the 2001 Loan Documents;

           2. Agent's Liens shall be released and shall be of                    no further force or effect; and

        3. Borrowers shall be authorized to fie releases of all mortgages and financing statements
filed by Agent showing a Borrower as mortgagor or debtor. Upon Borrowers' reasonable request from
time to time, Agent wil execute and deliver such additional lien releases as may be necessary to
effectively terminate any and all Agent's Liens on the assets and properties of Borrowers on any public
record.

        lt~ for any reason, any of the Payoff Amount or any other amounts applied by Agent to payment
of the Relevant Obligations are voided or rescinded or must otherwise be returned by Agent for any
reason whatsoever, Borrowers acknowledge and agree that the 2001 Loan Documents, and Borrowers'
obligations and liabilities thereunder, shall be reinstated to that extent.

            By its signature below, each Borrower (a) confirms its consent to the foregoing, (b) releases
Agent, Lenders, and their directors, offcers, employees, affliates, representatives and agents, from any
and all claims, demands, debts, liabilties, actions and causes of action of every kind and character based
upon, relating to or arising out of the Relevant Obligations and related transactions in any way, and (c)
acknowledges that, upon Agent's receipt of    the Payoff Amount, Agent (in its capacity as agent under the
Loan Agreement) and Lenders have no further obligations or liabilities to Borrowers, and Bank of
America, N.A. has no further obligations under the 2001 Loan Documents to Borrowers except in
connection with the Letters of Credit and Hedge Transactions.

                                                           (Signature Pages Follow)



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            This letter agreement may be executed in counterpart and be delivered by facsimile. This letter
agreement shall constitute an agreement made in, and governed by, the internal laws of   the State of New
York.

Very trly yours,


BANK OF AMERICA, N.A.,
as Agent


By
  Title:




                                            (Signature Page to Payoff
                                                                                   Confirmation Letter)
 CH\114025\.4                                                                                                             029123-0013
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Acknowledged and agreed:

w. R. Grace & Co.-Conn.,
as Borrower and Borrower Representative
on behalf of each of the other Borrowers,
each as a Debtor and a Debtor-in-Possession


By:
Its Senior Vice President or Vice President




                             (Signature Page to Payoff Confirmation Letter)
CH\1140251.4                                                                                  029123-0013
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                                        Attachment A

                                      Letters of Credit

    Letter of Credit Number             Face Amount                  EXDiration Date




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                                       Attachment B

                  Form of Post-Petition Letter of Credit Facilty Af!reement




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